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                   IN THE UNITED STATES DISTRICT COURT
          FOR THE SOUTHERN DISTRICT OF TEXAS, HOUSTON DIVISION

                                              )
 RUSSELL, et al.                              )
                                              )
 Plaintiffs,                                  )
                                              )             Case No. 4:19-cv-00226
 v.                                           )                 (Class Action)
                                              )         The Honorable Lee H. Rosenthal
 HARRIS COUNTY, TEXAS, et al.                 )               U.S. District Judge
                                              )
 Defendants.                                  )
                                              )

        On _________, the Defendant Judges who had appealed this Court’s ruling on their Motion

to Dismiss dismissed their appeal. Accordingly, Plaintiffs’ Rule 41(a)(2) Motion for Dismissal of

the Criminal District Court Judges as Defendants is hereby GRANTED. The Judges are dismissed

with prejudice.



Ordered this ___ day of _______________, 2021.

                                                    __________________________________
                                                    Hon. Lee H. Rosenthal District Judge
